         Case 1:24-cv-01043-LDH-SJB Document 4 Filed 02/12/24 Page 1 of 4 PageID #: 95

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District of New York

                                                                   )
                                                                   )
 Estate of Avraham Goldman (see attached rider)                    )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 24-1043-LDH-SJB
                                                                   )
                                                                   )
Lafarge S.A., Lafarge Cement Holding Limited,                      )
and Lafarge Cement Syria S.A.                                      )
                                                                   )
                           Defendant(s)                            )

                                   AMENDED SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Lafarge S.A., 14-16 boulevard Garibaldi, 92130 Issy-les-Moulineaux
                                           Lafarge Cement Holding Limited, ȃĮȣʌȜȓȠȣ, 15, Floor 2, 3025, ȁİȝİıȩȢ, ȀȪʌȡȠȢ
                                           Lafarge Cement Syria S.A., 14-16 boulevard Garibaldi 9 2130 Issy-les-Moulineaux




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Melissa Fox
                                           Stein Mitchell Beato & Missner LLP
                                           2000 K Street NW
                                           Suite 600
                                           Washington D.C. 20006

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                             #3&//" # .")0/&:
                                                                             CLERK OF COURT


Date:    2/12/2024                                                             s/
                                                                                      Signature of Clerk or Deputy Clerk
          Case 1:24-cv-01043-LDH-SJB Document 4 Filed 02/12/24 Page 2 of 4 PageID #: 96

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
Case 1:24-cv-01043-LDH-SJB Document 4
                                    3 Filed 02/12/24 Page 3 of 4 PageID #: 97
                                                                           93



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

ESTATE OF AVRAHAM GOLDMAN,                    :
NITZHIYA GOLDMAN,                             :
MAYA GOLDMAN COHEN, SHARON                    :   Case No. 24-1043
GOLDMAN-NAJMAN, GILA NISSENBAUM,              :
NATHAN GOLDMAN, ESTATE OF                     :   COMPLAINT
YONATAN SUHER, INBAL MEROM, G.S., a           :
minor, by his legal guardian INBAL MEROM,     :   JURY TRIAL DEMANDED
U.S., a minor, by his legal guardian INBAL    :
MEROM, RANDOLPH SUHER, YAEL                   :
SUHER, AMIR SUHER, EYAL SUHER, ERAN           :
SUHER, and EDEETE SUHER,                      :
                                              :
                        Plaintiffs,           :
                                              :
       -against-                              :
                                              :
LAFARGE S.A., LAFARGE CEMENT                  :
HOLDING LIMITED, and                          :
LAFARGE CEMENT SYRIA S.A.,                    :
                                              :
                        Defendants.           :
                                              :
                                              :
                                              :


              RIDER TO PROPOSED SUMMONS LISTING ALL PLAINTIFFS
1.    Estate Of Avraham Goldman

2.    Nitzhiya Goldman

3.    Maya Goldman Cohen

4.    Sharon Goldman-Najman

5.    Gila Nissenbaum

6.    Nathan Goldman

7.    Estate Of Yonatan Suher

8.    Inbal Merom

9.    G.S., a minor, by his legal guardian INBAL MEROM

10.   U.S., a minor, by his legal guardian INBAL MEROM
Case 1:24-cv-01043-LDH-SJB Document 4
                                    3 Filed 02/12/24 Page 4 of 4 PageID #: 98
                                                                           94



11.   Randolph Suher

12.   Yael Suher

13.   Amir Suher

14.   Eyal Suher

15.   Eran Suher

16.   Edeete Suher




                                      2
